Case 1:19-Cv-00106-AB.] Document 7 Filed 04/19/19 Page 1 of 2

U.S. Department of Justice
United States Marshals Service

PROCESS RECEIPT AND RETURN

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PLAINHFF COURT CASE NUMBER
JONATHAN DAVEY l9-cv-00106-ABJ
DEFENDANT TYPE 0F PROCESS
FEDERAL BUREAU OF INVESTIGATION S & C

 

 

NAME OF lNDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

 

ADDRESS (Street or RFD, Aparlmenl No., City, State and ZIP Code)

SERVE FEDERAL BUREAU OF INVESTIGATION, HEADQUARTERS
935 PENNSYLVANIA AVENUE, NW, WASHINGTON, DC 20535

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

 

JONATHAN DAVEY, R27328-058

FEDERAL CORRECTIONAL INSTITUTION - ELKTON
P. O. BOX 10

LISBON, OH 44432

Number of process to be l
served with this Form 285

 

Number of parties to be 3
served in this case

 

Check for service X li '
on U S. A ' `

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business andAlternate Addmsses, l
AIl Telephone Numbers, and Estima!ed Times Availablefor Service):

 

TELEPHONE NUMBER DATE
(202) 354-3120 3!2?1'2019

PLAINTIFF
|:| DEFENDANT

 

 

 

 

SPACE BELOW FOR OF U. S. MARSHAL ONLY- DO NOT WRITE BELOW THIS L!NE
I acknowledge receipt for the total Total PFOCCSF] DlStr\Ct Of DlStFlCt to Signature of Authorized USMS Deputy or Clerk l 1 Date
number of process indicated. Origin Serve

(Sign only for USM 285 if more
than one USM 285 is submilleaD

 

 

 

 

j
315 No. 110 No. 110 “~r~j£/ BLJHlJ°t

I hereby certify and return that I I:I have personally served , El have legal evidence of service, m lev`e executed as shown in "Remarks", the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below_

 

 

 

|:I I hereby certify and return thatl am unable to locate the individual, company, corporation, etc. named above (See remarks below)

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Date Time ,'\ am

j/é/? //_'0 L \:| Pm

S\gnatur{: of U S. Marshal or Deputy

f cig/5ng 3/3L/D

Advance Deposits Amount owed to U S Marshal* or
(Amount of Refund*)

Name riam:l title of individual served (.ffmu shown ahr,=‘»'r:)

J%€V'(- .) fagg ¢~/._

Address (complele only dWerent than shown above)!

 

 

 

 

Service Fee Total Mileage Charges

(including endeavors)

Forwarding Fee Total Charges

 

 

 

 

 

 

 

REMARKS

 

Form USM-285

PRIOR VERSIONS OF THIS FORM ARE OBSOLETE Rev. ll/l 8

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U.S. Department of Justice PROCESS RECEIPT AND RETURN
United States Marshals Service See "lii.‘:ir'w:r1`011.§',!&)1' .H`ui'vice uf`i-'i'i)cc.\'.i` i"»‘,\-' f S_ .l».'ar.vliai "
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PLAINTIFF COURT CASE NUMBER

JONATHAN DAVEY l9-cV-00106-ABJ

DEFENDANT TYPE OF PROCESS

FEDERAL BUREAU OF INVESTIGATION S & C

 

 

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
SERVE {U.s. ATTORNEY GENERAL, U.s. DEPARTMENT oF rusTIcE

 

ADDRESS (Street or RFD, Apartment No., City, Slale and ZIP Code)
950 PENNSYLVANIA AVENUE, NW, WASH]NGTON, DC 20530

 

 

 

 

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW N\lmb€l' Of P|'OC€SS to be l

served with this Form 285
JONATHAN DAVEY, R27328-058 Number of parties to be q
FEDERAL CORRECTIONAL INSTITUTION - ELKTON Served in this case . f .‘
P'O' BOX 10 Check for service l b X " `
LISBON, OH 44432 on U.S.A. '

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Availablefor Service).'

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Sigl'ialur of Aliu other 'gin ‘qnes ng ici: on behalf of: g PLAINTIFF TELEPHONE NUMBER DATE
MDW') ij DEFENDANT (202) 354-3120 sai/2019
SPA(‘JE BELOW F USE OF U.S. MARSHAL ONLY - DO NOT WRITE BELOW THIS LI'NE
1 acknowledge receipt for the total TOtal P&;SS Dl'Sfl'in 0f DiSffin to Signaturer?/\ utliori?.ccl USMS Deputy or Clerk .. -’ Date
number of process indicated. Origin Serve
Si;z";:;;’ya£§%:i:,:£:,-";;; 315 110 w 74§,:51§/33.,~1,?
I hereby certify and return that I I:I have personally served ,I:l have legal evidence of service, have executed as shown in "Remarks" the process described on the

individual company, corporation, etc., at the address shown above on the on the individual, co any, corporation, etc. shown at the address inserted below.

 

l:| l hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)

 

 

 

 

 

 

 

 

 

 

 

 

nd title of individualbe '(rv`cdl (ifnot shown above) Date Time l:| am
Nial-gi&`_`.v\./\./\.#`t_l,`l gym Q_/\Q)/UL q/b//?' /m W
Address (complete only different than shown above) Sigh/ature of U.S. Marshal or Deputy
@ 3 ' 3 ‘ 7“
Service Fee Total Mileage Charges Forwarding Fee Total Charges Advance Deposits Amount owed to U.S. Marshal* or
: S- " (including eridem¢?'s) g ___' (Amount Of Remnd*)
REMARKS

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Form USlV|/-ZSS

PRIOR VERSIONS OF THIS FORM ARE OBSOLETE Rev. ll/ 18

